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                                                                         ~   l .   ~ < '• "   I   I I   -   }   i ,_
                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TE~!}4.§                !:.L -- 8                     ~.:!! : (3
                                 FORT WORTH DIVISION

ERIC PEDROZA, On Behalf of Himself and            §
All Others Similarly Situated,                    §
                                                  §
         Plaintiff,                               §
                                                  §
v.                                                §      CIVIL ACTION NO. 4:16-cv-00164-A
                                                  §
NOISE ATTENUATION CONSTRUCTION,                   §
LLC                                               §
                                                  §
         Defendant.                               §

                      PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT

         Pursuant to Federal Rule of Civil Procedure 55(b )(2), Plaintiff Eric Pedroza ("Pedroza")

respectfully requests that the Court grant default judgment against Defendant, Noise Attenuation

Construction, LLC ("Noise Attenuation" or "Defendant"). For the reasons stated in the

Memorandum of Law filed in support of this Motion, incorporated by reference, Plaintiffs

Motion for Default Judgment should respectfully be granted. Pursuant to Local Rule 7.1(i),

Plaintiff incorporates all evidence in support of this Motion in a concurrently filed Appendix.



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                   PLAINTIFF'S MEMORANDUM OF LAW IN SUPPORT
                      OF HIS MOTION FOR DEFAULT JUDGMENT

                                   I.      INTRODUCTION

        On March 1, 2016, Plaintiff filed his Original Complaint seeking damages under the

Federal Fair Labor Standards Act, 29 U.S.C. §§ 201-219, and the Federal Portal-to-Portal Pay

Act, 29 U.S.C. §§ 251-262 (collectively "FLSA"), for Defendant's failure to pay Plaintiff and

putative collective action members time and one-half their respective regular rates of pay for all

hours worked over 40 during each seven day workweek. (See app. pp. 1-13 , ECF No. 9,

Plaintiff's Original Complaint).

        On May 10, 2016, Defendant was served through its registered agent, Mr. Armando

Gutierrez, Sr., with an executed summons and all documents filed in the case to that date. (See

app. pp. 14-19, Proof of Service, ECF No. 10). Accordingly, Defendant was required to answer

or otherwise respond to the Complaint on or before May 31, 2016. See FED. R. Crv. P.

12(a)(l )(A)(i).

        Defendant has failed to answer or otherwise respond to the Complaint served on it in the

time provided by the Federal Rules of Civil Procedure, and Plaintiff moved for entry of default

by the Clerk of Court on June 7, 2016. (See app. pp. 20-32, Motion for Entry of Default, ECF

No. 11). On the same day, this Court entered an Order granting Plaintiff's request for entry of

default directing that the Clerk enter default, which the Clerk did. (See app. p. 33-34, Order and

Entry of Default, ECF Nos. 12 & 13).

        Since Defendant has indicated its intent to be bound by any judgment entered in this

matter, Plaintiff respectfully moves for the Court to grant a default judgment against Defendant

pursuant to Federal Rule of Civil Procedure 55(b )(2).




             Memorandum of Law in Support of Plaintiff's Motion for Default Judgment - Page 1
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                                   II.      FACTUALBACKGROUND

         Defendant operated an oilfield services and products company, which provided services

including, but not limited, to noise control for drilling, fracking, and productions operations,

equipment cleaning, H2S safety services, flowback and well testing, and equipment rentals. (See

app. p. 35, Declaration of Eric Pedroza ("Pedroza Decl."),       ~   2). Plaintiff was an hourly paid, non-

exempt employee pursuant to the FLSA who worked as a swamper. (See app. pp. 35-36, Pedroza

Decl.,   ~   3, 4). Plaintiff routinely worked approximately sixty hour long weeks, on average, and

as a result completed substantial overtime work for Defendant. (See app. p. 37, Pedroza Decl.,           ~


8). As demonstrated by his earning statements, Plaintiff was also paid significant bonus pay in

the form of "taxable" per diem pay, generic bonus pay, well bonuses, and performance bonuses.

(See app. pp. 37, 40-44, Pedroza Decl.,      ~   9, 10, Exhibit 1). That bonus pay was never included in

Plaintiffs regular rate of pay for purposes of calculating his overtime premiums despite the fact

that Plaintiff routinely worked over forty hours in a seven-day workweek. (Id.).

                            III.         ARGUMENTS AND AUTHORITIES

A. Legal Standard and Standard of Review Regarding Default Judgments.

         A defaulting defendant, "by his default, admits the plaintiffs well-pleaded allegations of

fact," is concluded on those facts by the judgment, and is barred from contesting on appeal the

facts thus established. J&J Sports Prods., Inc. v. Rivera, No. 3:15-CV-2981-B, 2016 WL

2594492, at *2 (N.D. Tex. May 4, 2016) ["J&J Sports"] (Boyle, J.) quoting Nishimatsu Constr.

Co., Ltd. v. Houston Nat'! Bank, 515 F.2d 1200, 1206 (5th Cir. 1975).

         Federal Rule of Civil Procedure 55(b)(2)(B) gives a court discretion to convene an

evidentiary hearing on the issue of damages. FED. R. Clv. P. 55(b)(2)(B). See also , J&J Sports,

2016 WL 2594492, at *2. ("But if [a court] can determine the amount of damages with



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mathematical calculation, by referencing the pleadings and supporting documents, a hearing is

unnecessary."). See also, United Artists Corp. v. Freeman, 605 F.2d 854, 857 (5th Cir. 1979).

Plaintiffs declaration is the best evidence of hours worked and rates paid since Defendant has

failed to participate. Approximations of damages are acceptable where no time records are

available due to a defendant' s failure to produce them. See Anderson v. Mt. Clemens Pottery Co.,

328 U.S. 680, 687-88 (1946), superseded on other grounds by statute, Portal-to-Portal Act of

1947, § 4(a)(l), 29 U.S.C. § 251(a)(1), as recognized in Integrity Staffing Solutions, Inc. v. Busk,

135 S.Ct. 513, 519 (2014); Harvill v. Westward Commc'ns, L.L.C. , 433 F.3d 428, 441 (5th Cir.

2005).

         A court's entry of a default judgment, and its concomitant decision to refuse to set aside a

default judgment, is reviewed for abuse of discretion. See Wooten v. McDonald Transit Assocs. ,

Inc. , 788 F.3d 490, *495 (5th Cir. 2015). Factual determinations underlying the decision are

reviewed for clear error. Id. at 495-96.

B. Defendant is an Employer of Plaintiff and Violated the FLSA's Overtime Wage
   Provisions.

    1. FLSA Background.

         The FLSA is a remedial statute designed to remedy substandard labor conditions which

Congress declared "injurious to the commerce and to the state from which the commerce flows. "

United States v. Darby, 312 U.S. 100, 115 (1941). The Supreme Court instructs that the FLSA

should not be "interpreted or applied in a narrow, grudging manner." Tennessee Coal, Iron & R.

Co. v. Muscoda Local No. 123, 321 U.S . 590, 597 (1944) superseded on other grounds by

statute, Portal-to-Portal Act of 1947, § 4(a)(l), 29 U.S.C. § 251(a)(l), as recognized in Integrity

Staffing Solutions, Inc. v. Busk, 135 S.Ct. 513 , 519 (2014). It is well established law that the

FLSA should be construed "liberally in favor of employees." Arnold v. Ben Kanowsky, Inc., 361


             Memorandum of Law in Support of Plaintiff's Motion for Default Judgment - Page 3
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U.S. 388, 392 (1960); McGavock v. City of Water Valley, Miss., 452 F.3d 423 , 424 (5th Cir.

2006); Allen v. McWane, Inc., 593 F.3d 449, 452 (5th Cir. 2010), cert. denied, 131 S. Ct. 73

(2010).

   2. Defendant Is an Employer of Plaintiff and an Enterprise Engaged in Commerce
      Under the FLSA.

          The FLSA defines the term "employer" as "includ[ing] any person acting directly or

indirectly in the interest of an employer in relation to an employee ... ." 29 U.S.C. § 203(d). The

term "employer" is interpreted broadly for determining liability for claims of unpaid wages.

Vasquez v. Ranieri Cheese Factory, 07-CV-464-ENV-VVP, 2010 WL 1223606, at *9 (E.D.N.Y.

Mar. 26, 2010), citing Falk v. Brennan, 414 U.S. 190, 195 (1973); Brock v. Superior Care, 840

F.2d 1054, 1058 (2d Cir. 1988) (finding that FLSA's definition of employer "is necessarily a

broad one in accordance with the remedial purposes of the Act").

          The FLSA also requires that employers be covered enterprises engaging in commerce.

See 29 U.S.C. § 207(a). In order for the FLSA to apply in a given situation, plaintiffs must

establish that defendant-employers meet certain threshold requirements in order to be covered by

the FLSA. "The FLSA guarantees overtime pay to employees engaged in the production of

goods for commerce ("individual coverage") or employed in an enterprise engaged in commerce

or in the production of goods for commerce ("enterprise coverage"). Either individual or

enterprise coverage is enough to invoke FLSA protection." Martin v. Bedell, 955 F.2d 1029,

1032 (5th Cir. 1992) (internal quotations omitted) (emphasis in original).

          Here, Plaintiffs Original Complaint states, and based on his earning statements it should

be undisputed that, Noise Attenuation was his employer under the FLSA. (See app. p. 8, Original

Complaint, ECF No.9 ,     ~~   43 -46; app. p. 35, Pedroza Decl., ~ 1-3).




              Memorandum of Law in Support of Plaintiff's Motion for Default Judgment - Page 4
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       Specifically, an employer is an enterprise covered by the FLSA "if it 1) 'has employees

engaged in commerce or in the production of goods for commerce, or that has employees

handling, selling, or otherwise working on goods or materials that have been moved in or

produced for commerce by any person' and 2) has at least $500,000 of ' annual gross volume of

sales made or business done. " ' Polycarpe v. E&S Landscaping Service, Inc., 616 F.3d 1217,

1220 (11th Cir. 2010) (quoting 29 U.S.C. § 203(s)(l)(A)).

       Plaintiff has identified in his Original Complaint that Defendant was an enterprise

engaged in commerce. (See app. p. 8, Original Complaint, ECF No. 9,       ~~   43-46). In default

judgments, all well-pleaded facts are to be taken in the favor of the moving party, and thus

enterprise coverage is established in the pleadings. See J&J Sports, 2016 WL 2594492, at *2

   3. The FLSA's Overtime Wage Requirements Mandate an Award of Damages in this
      Lawsuit.

       The FLSA' s overtime wage prov1s10n states " [e]xcept as otherwise provided in this

section, no employer shall employ any of his employees who in any workweek is engaged in

commerce or in the production of goods for commerce, or is employed in an enterprise engaged

in commerce or in the production of goods for commerce, for a workweek longer than forty

hours unless such employee receives compensation for his employment in excess of the hours

above specified at a rate not less than one and one-half times the regular rate at which he is

employed." 29 U.S.C. § 207(a).

       Plaintiff has identified in his Original Complaint that Defendant was an enterprise

engaged in commerce. (See app. p. 8, Original Complaint, ECF No. 9,     ~~   43-46). He has also

demonstrated that he regularly worked more than 40 hours in a seven-day workweek, but was not

paid overtime compensation as required by the FLSA. (See app . p. 8, Original Complaint, ECF




            Memorandum of Law in Support of Plaintiff's Motion f or Default Judgment - Page 5
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No. 9,    ~   47; app. p. 36, Pedroza Decl.,   ~   4). As a result, Defendant has violated the FLSA's

overtime wage provision as to Plaintiff.

C. Damages in this Lawsuit Are Calculable as a Matter of Just and Reasonable Inference.

          An employer who violates the FLSA's overtime wage provision is liable to the affected

employee for back overtime wages, liquidated damages, and mandatory legal fees and costs. 29

U.S.C. § 216(b).

      1. Plaintiff's Pleading and the FLSA Support a Limitations Period of Three Years
         Prior to the Filing of this Lawsuit.

          The FLSA provides for a two year statute of limitations for violations of the statute. 29

U.S.C. § 255(a). However, that time period may be extended to three years if the employer's

conduct was in willful violation of the law. !d. See also, Cox v. Brookshire Grocery Co., 919

F.2d 354, 356 (5th Cir. 1990). A violation ofthe FLSA is willful if the employer either knew its

conduct violated the FLSA or showed reckless disregard for whether its conduct complied with

the law. McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133 (1988); Cox, 919 F.2d at 356.

Here, Plaintiffs Original Complaint alleges willful violations of the FLSA by Defendant and

those allegations permit the maximum limitations period allowed by the FLSA - three years

preceding the date the lawsuit was filed and forward. (See app. p. 9, Original Complaint, ECF

No.9,~     51).

          Plaintiff filed his Original Complaint in this lawsuit on March 1, 2016. (See app . pp. 1-

13, Original Complaint, ECF No. 9). Therefore, the maximum FLSA limitations period allows

for a recovery by Plaintiff from March 1, 2013 to the present. Here, Plaintiff seeks damages for

work completed from approximately November of 2013 to approximately January of 2015 ,

which is within the three year maximum FLSA limitations period. (See app. p. 35, Pedroza Decl.,

~   3).


                Memorandum of Law in Support of Plaintiff's Motion for Default Judgment - Page 6
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   2. How to Calculate Back Overtime Wages in this Lawsuit.

       An employee is owed time and one-half his or her regular rate of pay for all hours

worked over 40 in a seven day workweek. 29 U.S.C. § 207(a); Corning Glass Works v. Brennan,

417 U.S. 188, 196-97 (1974); Paul v. Petroleum Equipment Tools Co., 708 F.2d 168, 170 (5th

Cir. 1983).

       The "regular rate" is the hourly rate actually paid to the employee for the normal, non-

overtime workweek for which he/she is employed. Walling v. Youngerman-Reynolds Hardwood

Co. , 325 U.S. 419, 424 (1945). Although the "regular rate" is a rate per hour, the FLSA does not

require employers to compensate overtime eligible employees on an hourly basis. 29 C.F.R. §

778.109. The FLSA requires inclusion in the "regular rate" of "all remuneration for employment

paid to, or on behalf of, the employee." 29 U.S.C. § 207(e). See also, Gagnon v. United

Technisource, Inc. , 607 F.3d 1036, 1041 (5th Cir. 2010) ("The regular rate by its very nature

must reflect all payments which the parties have agreed shall be received regularly during the

workweek, exclusive of overtime payments.").

       Where, as here, a defendant fails to include bonus payments in the regular rate of pay, the

half-time rate of the overtime premium was paid wrongly. See, e. g. , St. Amant v. Knights. Marine

and Indus. Servs., Inc., No. 1:14cv174-HSO-RHW, 2015 WL 4568813 , at *11 (S.D. Miss. July

28, 2015) ("Plaintiffs ' regular rates under the FLSA for each workweek must be calculated by

adding their hourly regular or "straight" time payments, for both regular and overtime hours, to

their hourly per diem payments, for both regular and overtime hours."). This is the method by

which Plaintiff s damages have been calculated in this case.

   3. FLSA Recordkeeping Obligations Required Defendant to Maintain Documents
      Regarding Hours Worked and Remuneration Paid to Plaintiff.




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       Federal law requires Defendant to have made and maintained accurate and detailed

payroll data for Plaintiff. See 29 U.S.C. § 211(c); 29 C.F.R. § 516.2. The regulations require

employers to make and keep payroll records showing data such as the employee's name, social

security number, occupation, time of day and day of week which the workweek begins, regular

hourly rate of pay for any week in which overtime pay is due, hours worked each workday and

total hours worked each workweek, total daily or weekly straight time earnings, total premium

pay for overtime hours, total wages paid each pay period and date of payment and pay period

covered by the payment, and records of remedial payments for all non-exempt employees. See 29

C.F.R. § 516.2(a)&(b). Plaintiff, who worked as a swamper employee for Defendant, was

undoubtedly a non-exempt employee as stated in his Complaint. (See app. p. 5, Original

Complaint, ECF No. 9, ~ 27).

       In situations where the employer maintains accurate and detailed employment records,

such as the regular rate data required by 29 C.F .R. § 516.2(a)( 6), the question of how to calculate

the regular rate is simple. However, in situations such as this, where the employer fails to satisfy

the federal recordkeeping requirements, alternative damages calculations by "just and reasonable

inference" which are "approximate" are both permitted and required. As set forth by the

Supreme Court:

       When the employer has kept proper and accurate records the employee may easily
       discharge his burden by securing the production of those records. But where the
       employer's records are inaccurate or inadequate and the employee cannot offer
       convincing substitutes a more difficult problem arises. The solution, however, is
       not to penalize the employee by denying him any recovery on the ground that he
       is unable to prove the precise extent of uncompensated work. Such a result would
       place a premium on an employer's failure to keep proper records in conformity
       with his statutory duty; it would allow the employer to keep the benefits of an
       employee's labors without paying due compensation as contemplated by the
       [FLSA]. In such a situation we hold that an employee has carried out his burden if
       he proves that he has in fact performed work for which he was improperly
       compensated and if he produces sufficient evidence to show the amount and



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       extent of that work as a matter of just and reasonable inference. The burden then
       shifts to the employer to come forward with evidence of the precise amount of
       work performed or with evidence to negative the reasonableness of the inference
       to be drawn from the employee's evidence. If the employer fails to produce such
       evidence, the court may then award damages to the employee, even though the
       result be only approximate.

       The employer cannot be heard to complain that the damages lack the exactness
       and precision of measurement that would be possible had he kept records in
       accordance with the . .. [FLSA]. And even where the lack of accurate records
       grows out of a bona fide mistake as to whether certain activities or non-activities
       constitute work, the employer, having received the benefits of such work, cannot
       object to the payment for the work on the most accurate basis possible under the
       circumstances. Nor is such a result to be condemned by the rule that precludes the
       recovery of uncertain and speculative damages. That rule applies only to
       situations where the fact of damage is itself uncertain. But here we are assuming
       that the employee has proved that he has performed work and has not been paid in
       accordance with the statute. The damage is therefore certain. The uncertainty lies
       only in the amount of damages arising from the statutory violation by the
       employer. In such a case 'it would be a perversion of fundamental principles of
       justice to deny all relief to the injured person, and thereby relieve the wrongdoer
       from making any amend for his acts.' It is enough under these circumstances if
       there is a basis for a reasonable inference as to the extent of the damages."

Anderson, 328 U.S. at 687-88 (1946) (emphasis added) (internal citation omitted).

       This principle of determining damages by "just and reasonable inference" with

"approximate" calculations has long been followed since Anderson. See, e.g. , Brown v. Family

Dollar Stores of IN, LP, 534 F.3d 593, 595 (7th Cir. 2008) (calculating damages by "just and

reasonable inference" appropriate where employer failed to satisfY FLSA's record keeping

obligations); Reich v. S. New England Telecommunications Corp., 121 F.3d 58, 67 (2d Cir.

1997) (permitting damages by "just and reasonable inference" based on testimony of

representative sample of plaintiffs as opposed to testimony from every plaintiff'); Donovan v.

Hamm 's Drive Inn , 661 F .2d 316, 318 (5th Cir. 1981) ("Evidence used to calculate wages owed

need not be perfectly accurate, since the employee should not be penalized when the inaccuracy

is due to a defendant's failure to keep adequate records."); Marshall v. Hope Garcia Lancarte,




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632 F.2d 1196, 1197-98 (5th Cir. 1980) (same); Marshall v. Mammas Fried Chicken, Inc., 590

F.2d 598, 599 (5th Cir. 1979) (same); Olibas v. Native Oilfield Servs., LLC, 104 F. Supp. 3d 791 ,

800 (N.D. Tex. 2015) (FLSA overtime truck driver case holding that, when the employer failed

to produce an accurate record of the hours worked and pay received, the employees were

permitted to prove damages by "just and reasonable inference" based on testimony of

approximate hours worked and pay received.").

   4. Back Overtime Wages Are Owed to Plaintiff.

         Here, since Defendant has not produced records of the actual hours worked and pay

received by Plaintiff for each relevant workweek, Plaintiff must prove his damages by just and

reasonable inference in consonance with Anderson.

         Plaintiff testifies that he generally worked approximately 20 hours of overtime per week

and that his hourly rate was generally $13.00 per hour. (See app. pp. 36-37, Pedroza Decl.,   ~~   7-

8). His earning statements corroborate his testimony. (See app. pp. 40-44, Exhibit 1 to Pedroza

Decl.). As Plaintiff has access to certain earning statements which demonstrate the year-to-date

amount of pay he received for approximately 36.5 weeks worked, Plaintiffs average weekly

unpaid overtime wages are calculable for that period, and total to approximately $33.06 damages

per week. As Plaintiff worked for about 59 total weeks, his total damages amount to $1,950.50.

(See app. pp. 37-38, Pedroza Decl.,   ~~   9-11). Plaintiffs damage calculations are summarized

below.




Back Overtime Wages Owed to Plaintiff




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                                                                                                            $3,901.00
Taxable Per
   Diem             $3 ,240
Well Bonus           $400
    "Bonus"          $150
Performance
   Bonus            $3 ,450

*    Based on year to date totals from Plaintiff' s earning statement for the pay period from September 8, 2014 through
     September 21 , 2014.


(See app. p. 47, Overtime Wage Calculation Summary).

     5. Plaintiff Is Entitled to Liquidated Damages Under the FLSA.

          Finally, Plaintiff requests that this Court award him liquidated damages in an amount

equal to the back overtime wages he has demonstrated. Liquidated damages "constitute[]

compensation for the retention of a workman's pay" where the required wages are not paid on

time. Brooklyn Sav. Bank v. O'Neil, 324 U.S. 697, 707 (1945). See also, 29 C.F.R. § 790.22.

Employers who violate the FLSA's overtime provisions "shall be liable to the employee or

employees affected in the amount of their unpaid minimum wages, or their unpaid overtime

compensation, as the case may be, and in an additional equal amount as liquidated damages." 29

U.S .C. § 216(b) (emphasis added). There is a strong presumption in favor of imposing full

liquidated damages under the FLSA. See Nero v. Indus. Molding Corp., 167 F.3d 921 , 929 (5th

Cir. 1999).

          Accordingly, Plaintiff seeks liquidated damages in the amount of $1 ,950.50. (See app. p.

38, Pedroza Decl., ~ 12).




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    6. Post-Judgment Interest Is Recoverable in this Case.

        Plaintiff is entitled to an award of post-judgment interest at the prevailing rate. 28 U.S.C.

§ 1961(a) ("[i]nterest shall be allowed on any money judgment in a civil case recovered in a

district court."). See also Reeves v. Int'l Tel. & Tel. Corp., 705 F.2d 750,751-52 (5th Cir. 1983)

(FLSA case awarding post-judgment interest). Should the Court enter a default judgment in this

action, post-judgment interest should be included.

    7. Legal Fees and Costs Will Be Due Upon Entry of Judgment by this Court.

        The FLSA provides that "[t]he Court ... shall, in addition to any judgment awarded to

the plaintiff ... , allow a reasonable attorney's fee to be paid by the defendant, and costs of the

action." 29 U.S.C. § 216(b); Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 167 (1989). An

award of attorney's fees and costs to a prevailing plaintiff is mandatory. Tyler v. Union Oil Co.

ofCalif., 304 F.3d 379,404 (5th Cir. 2002); see also, Blackv. SettlePou, P.C., 732 F.3d 492,502

(5th Cir. 2013) ("Under the FLSA, an employer who violates the statute is also required to pay

attorney's fees.").

        Should the Court enter a default judgment in favor of Plaintiff, then Plaintiff respectfully

requests that the Court allow him 14 days from the entry of such order to submit a fee and cost

petition to the Court.

                                      IV.    CONCLUSION

        WHEREFORE, Plaintiff applies for a default judgment in favor of Plaintiff and against

Defendant in the amount of $3 ,901.00, with post-judgment interest to accrue at the current

judgment rate. Plaintiff requests that, upon becoming the prevailing party, he be allowed to move

separately for attorneys' fees and costs within 14 days of an Order granting this Motion.

[signature block on following page]



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